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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                         :   CRIMINAL NO.
                                                  :
              v.                                  :
                                                  :
 LANDON MANWARING,                                :   VIOLATION:
                                                  :   40 U.S.C. § 5104(e)(2)(G)
                   Defendant.                     :   (Unlawful Parading, Demonstrating, or
                                                  :   Picketing in a Capitol Building)
                                                  :

                                      INFORMATION

       The United States Attorney charges that:

                                        COUNT ONE

       On or about January 6, 2021, within the District of Columbia, LANDON MANWARING

willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol

Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))


                                                         Respectfully submitted,

                                                         MATTHEW M. GRAVES
                                                         United States Attorney
                                                         D.C. Bar No. 481052.


                                                       By: ______/s/_______
                                                       MICHAEL M. GORDON
                                                       Assistant United States Attorney United
                                                       States Attorney’s Office
                                                       601 D Street, N.W.
                                                       Washington, D.C. 20579
                                                       Telephone: 813- 274-6370
                                                       MICHAEL.GODON3@USDOJ.GOV
